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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov


In re:
                                                            Chapter 13
STEVEN LAWRENCE BRICKNER,
                                                            Case No. 8:16-bk-974-CPM
         Debtor.
                                              /

                           DEBTOR’S OBJECTION TO
         CLAIM NO. 8 FILED BY THE FLORIDA DEPARTMENT OF REVENUE

      PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF
REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR HEARING UNLESS A PARTY IN
INTEREST FILES A RESPONSE WITHIN 30 DAYS FROM THE DATE SET FORTH ON THE
ATTACHED PROOF OF SERVICE, PLUS AN ADDITIONAL THREE DAYS FOR SERVICE IF ANY
PARTY WAS SERVED BY U.S. MAIL.

      IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE A
RESPONSE WITH THE CLERK OF THE COURT AT SAM M. GIBBONS UNITED STATES
COURTHOUSE, 801 NORTH FLORIDA AVENUE, TAMPA, FLORIDA 33602, AND SERVE A COPY ON
THE MOVANT’S ATTORNEY, MATTHEW B. HALE, ESQUIRE, STICHTER, RIEDEL, BLAIN &
POSTLER, P.A., 110 E. MADISON STREET, SUITE 200, TAMPA, FLORIDA 33602 AND ANY OTHER
APPROPRIATE PERSONS WITHIN THE TIME ALLOWED. IF YOU FILE AND SERVE A RESPONSE
WITHIN THE TIME PERMITTED, THE COURT WILL EITHER SCHEDULE AND NOTIFY YOU OF A
HEARING, OR CONSIDER THE RESPONSE AND GRANT OR DENY THE RELIEF REQUESTED
WITHOUT A HEARING.

      IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL
CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE PAPER, WILL
PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER NOTICE OR HEARING, AND MAY
GRANT THE RELIEF REQUESTED.

         STEVEN LAWRENCE BRICKNER (the “Debtor”) by and through his undersigned

attorney, hereby files this objection (the “Objection”) pursuant to Federal Rule of Bankruptcy

Procedure 3007 to Claim No. 8 (the “Claim”) filed by the Florida Department of Revenue (the

“DOR”). In support of this Objection, the Debtor states as follows:

         1.      The Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code on

February 5, 2016.
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           2.      On February 8, 2016, the Court issued its standard Notice of Chapter 13 Bankruptcy

Case (Official Form 309I) (Doc. No. 5) (the “Notice of Bankruptcy Case”), which set forth a

June 13, 2016 deadline for all creditors except governmental units to file a proof of claim. The

Notice of Bankruptcy Case set the deadline for governmental units to file a proof of claim at 180

days from the date of filing, which falls on August 8, 2016.

           3.      The DOR was served a copy of the Notice of Bankruptcy Case by the BNC. (See

Certificate of Notice, Doc. No. 10.)

           4.      On March 22, 2017—eight-and-a-half months past the applicable claims

deadline—the DOR filed its Claim, asserting a claim for $25,898.38 purportedly based on unpaid

sales tax attributable to an entity called “Country Corner Cafe LLC” (the “Café”). (See Claim,

Part 2.)

           5.      The Debtor formerly managed an entity called Valworth Enterprises, LLC

(“Valworth”). Beginning in January 2012, the Debtor and Valworth became embroiled in

litigation in the Hillsborough County Circuit Court (the “State Court”) with Earnest Graham and

Carnell Williams regarding their interests in Valworth and disputes related to the management of

Valworth (the action hereinafter referred to as the “Valworth Case”).

           6.      On February 16, 2012, the State Court entered an order in the Valworth Case

appointing a receiver (the “Order Appointing Receiver,” a copy of which is attached hereto as

Exhibit A) over Valworth and 17 other entities “operated, controlled or otherwise associated with

VALWORTH’s activities” (Order Appointing Receiver, at pp. 1–2).

           7.      The Order Appointing Receiver appointed Larry S. Hyman, CPA as receiver (the

“Receiver”) over these entities.




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           8.       The Café was included in the entities over which the Receiver was granted

authority. (Order Appointing Receiver, at ¶4.)

           9.       After the February 2012 entry of the Order Appointing Receiver, the Debtor had no

ability to exercise any authority over the bank accounts or business affairs of the Café.

           10.      On May 25, 2012, the Receiver filed a Motion for Authority to Sell Assets of

Valworth Enterprises, LLC; Notice of Auction, Bid Procedures and Hearing on Any Objections

(the “Receivership Sale Motion,” a copy of which is attached hereto as Exhibit B.) Exhibit A to

the Receivership Sale Motion listed the assets to be sold, which included “All assets of Country

Corner Café, LLC”.

           11.      On June 28, 2012, the State Court entered an order granting the Receivership Sale

Motion, and the Café assets were sold by the Receiver to Mr. Graham and Mr. Williams. (See

Order Granting Motion for Authority to Sell Assets of Valworth Enterprises, LLC; Notice of

Auction, Bid Procedures, attached hereto as Exhibit C.)

                                    Relief Requested and Basis for Relief

           The Debtor asks the Court to disallow the DOR’s Claim. The clearest basis to disallow the

Claim is its tardiness—the Claim was filed eight-and-a-half months after the governmental claims

bar date. Further, the Claim appears to be based on liability for unpaid sales tax stemming from

an entity, Country Corner Cafe, LLC, that was in receivership during the applicable time period.

The Debtor had no duty, ability, or authority to direct payments for sales tax owed by the Café.

           The claims allowance process set forth in § 502 of the Bankruptcy Code1 typically provides

that a proof of claim is deemed allowed unless an interested party objects. See 11 U.S.C. § 502(a).

But subsection (b) of § 502 provides several exceptions to “deemed allowance” of filed claims.



1
    “Bankruptcy Code” or “Code” refers to 11 U.S.C. § 101, et seq.

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Among these exceptions is § 502(b)(9), which excepts from allowance any claim for which a

“proof of claim is not timely filed.” 11 U.S.C. § 502(b)(9).

       The DOR did not file its Claim timely. The DOR received notice of the Debtor’s

bankruptcy case (and the claims bar date) on February 11, 2016. (See BNC Certificate of Mailing,

Doc. No. 10.) The governmental claims bar date was August 8, 2016, but the DOR didn’t file its

Claim until March 22, 2017, over eight months past the bar date. The Claim sets forth no reason

for the late filing. Thus, under the terms of § 502(b)(9), by operation of law the Claim should not

be allowed. But to minimize the chance of further delay of confirmation of the Debtor’s plan, the

Debtor filed this Objection.

       Although the DOR offered no explanation for the tardiness of its Claim, the Debtor adds

that “excusable neglect” would not provide a basis to consider the DOR’s Claim timely filed. The

Sixth Circuit Bankruptcy Appellate Panel recently summarized the operation of the various

bankruptcy rules on this point:

               Bankruptcy Rule 3002 sets the time to file proofs of claim in chapter
               7, 12, and 13 cases and Rule 3002(c) defines a timely-filed claim by
               a non-governmental creditor as one filed “not later than 90 days after
               the first date set for the meeting of creditors.” Fed. R. Bankr.P.
               3002(c). Bankruptcy Rule 9006(b)(1) provides for the allowance of
               late-filed claims due to “excusable neglect.” However, this Rule is
               not applicable to deadlines set by Rule 3002(c). Fed. R. Bankr.P.
               9006(b)(3). Thus, to the extent that the bankruptcy court allowed the
               late-filed claims under Rule 9006(b)’s excusable neglect exception,
               this order shall be reversed.

In re Tench, No. 15-8026, 2016 WL 2858792, at *3 (B.A.P. 6th Cir. May 11, 2016); cf. Pioneer

Investment Services Co. v. Brunswick Assocs. Lts. P’ship, 507 U.S. 380, 389, 389 n.4 (1993) (“The

‘excusable neglect’ standard of Rule 9006(b)(1) governs late filings of proofs of claim in Chapter

11 cases but not in Chapter 7 cases.”).




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       As explained by the court in Tench, Bankruptcy Rule 9006(b)(3) provides that the only

bases for enlarging the claims deadline in chapter 13 cases are found in Bankruptcy Rule 3002(c).

None of the six enumerated reasons apply to this case. Accordingly, the Debtor asks the Court to

disallow the DOR’s Claim as untimely filed.

       Even if the DOR were somehow able to proffer a legally viable reason for the Court to

accept its late-filed claim, the Debtor objects to the substance of the Claim. The Claim for

supposedly unpaid sales tax covers a period where the Receiver, or perhaps the purchaser of the

Café’s assets, had all authority and control over the Café and the consequent obligation to pay

taxes arising from such authority and control.

       The Order Appointing Receiver provides that the Receiver was to “marshal, preserve,

protect, maintain, manage and safeguard the assets of VALWORTH and its Subsidiaries and

Affiliated Entities [of which the Café is included] in a reasonable, prudent, diligent, and efficient

manner.” (Order Appointing Receiver ¶ 5.) Surely such obligations include payment of applicable

sales tax. The order also provided the Receiver with possession of all business records and bank

accounts (¶ 5(a)), and provided the Receiver with the “exclusive right to pursue, collect and control

all monies belonging to or otherwise generated by VALWORTH and its Subsidiaries and

Affiliated Entities, and shall have the exclusive right to make payments and disbursements from

VALWORTH and its Subsidiaries and Affiliated Entities’ bank accounts, including rents, accounts

payable, expenses, costs of merchandise or equipment, payroll and taxes . . . .” (Id. at ¶ 5(b).)

       The DOR’s Claim covers a period, January through October 2012, where pursuant to the

Order Appointing Receiver, the Receiver had the exclusive right to make payments and

disbursements for taxes on account of the Café. The DOR should have looked to the Receiver and

the State Court for payment of the taxes sought in the Claim. Or perhaps, for the period after the



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Café assets were sold, the DOR should have looked to the purchaser. But either way, the DOR

cannot now look to the Debtor. The Claim should be disallowed.

        To conclude, the Debtor asks the Court to disallow the Claim under 11 U.S.C. § 502(b)(9)

as a late-filed claim. Alternatively, the Debtor asks the Court to disallow the Claim on its merits.

In light of the receivership, the Debtor had no authority or ability to pay the taxes claimed for the

Café.

        WHEREFORE, the Debtor respectfully requests that this Court enter an order sustaining

this Objection, disallowing the Claim, and granting such other and further relief as may be just.

        DATED: May 2, 2017


                                              /s/ Matthew B. Hale
                                              Matthew B. Hale
                                              Florida Bar No. 110600
                                              Stichter Riedel Blain & Postler, P.A.
                                              110 East Madison Street, Suite 200
                                              Tampa, Florida 33602
                                              (813) 229-0144 – Phone
                                              (813) 229-1811 – Fax
                                              mhale@srbp.com
                                              Attorneys for Debtor




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Debtor’s Objection to Claim No.

8 Filed by the Florida Department of Revenue has been furnished on this 2nd day of May, 2017,

by either the Court’s CM/ECF electronic mail system or by U.S. Mail to:


Office of the U.S. Trustee
Jon Waage, Chapter 13 Trustee

State of Florida – Department of Revenue
c/o Don Kiester, Esq.
PO Box 2299
Mango, FL 33550-2299


                                             /s/ Matthew B. Hale
                                             Matthew B. Hale




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         EXHIBIT A
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           IN TIIE CIRCUIT COURT OF THF TI HRTEENTH JUDICI/\L CIRCUIT
                       IN AND FUR mI.LsBOROUGH COUNTY
                                 CIVIL DIVISION

VALWQRTII ENTERPRISES, LLC, a
Florida limited liability comany, and                           CASE NO. 12-CA-001245
STEVEN L. BRICKNER,

        Plaintiff,

V.                                                                                                                 CO
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FARNEST GRAHAM. JR.
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        Defendant.                                                                       6 '3Q (\).»-*        CO
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EA RNEST GRAI-IAM, JR.,                                                                                        W?            \ _-
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        Counter-PlaintifF,                                                                               r'
VS.


STEVEN L. BRICKNER, VALWORTH
ENTERPRISES, LLC, a Florida limited
Liability company,

        Countcr-Defendants.
                                                       /

        ORDER GRANTING MOTION FOR AUTHORITY T() SELL ASSETS OF
      VALWORTII ENTERPRISES, LLC; NOTICE OF AUCTION, mn PROCEDURES

        THIS CAUSF came on for hearing on .lone 19, 201 2 upon Recei\'er's Motion for Authority

to Sell Assets old Val worth Enterprises, LLC, Notice of Auction and Bid Procedures (the "Sale

l\/lotion"). At the hearing Alberto F. Gomez, Jr. appeared on hehalllofLarry S. Hyman, Receiver,

Stuart Levine appeared on behalf of Earnest Graham, Jr. and Carnell Williams, and Patrick Singer

appeared on behalf of Steven L. Brickner, who objected to the sale of the assets as it related to

Country Corner Café, LLC.

        The Court tends that there is an action pending in the Seventeenth .ludicial Circuit in and for




                       EXHIBIT C
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    Broward County Florida titled, Michael Silvester vs. Val worth Enterprises, LLC, Marla Silvester,

    Steven L. Briekner, Ernest Graham, Jr., Valiant Insurance Group, LLC and Scott Arnold, Case No.

    CACE- l 2- l 601 ("Broward County Case"). The Receivership Order has been served on all parties in

    connection with the Broward County Case and no objections to the Sale Motion were tiled.

           The Court, after reviewing the record, including the Sale Motion, after determining that

    adequate notice of the hearing on the Sale Motion was given to parties in interest and noting that

    there were no objections to the Sale Motion were tiled, and after being otherwise fully advised,

    determines that the Sale Motion should be granted, accordingly it is:

           ORDERED, ADJUDGED and DECREED that:

            l.      The Sale Motion is hereby granted.

           2.       Steven L. Brickner's Objection to the Sale Motion is hereby overruled.

           3.       The sale procedures detailed in the Sale Motion are approved.

           -4.      The Court finds that Val worth Enterprises, LLC ("Valworth") is the legal owner of

    the assets that are being sold.

            5.      The Receiver is hereby authorized and directed to take such actions as are necessary

    to complete the sale of the following assets of Val worth:

                    a.      All assets of Sylvester Enterprises, Inc. d/b/a Great Florida Insurance.
                    b.      All assets of Country Corner Café, LLC.
                    c.      Any and all causes of action in the possession of Val worth Enterprises, LLC
                            or its subsidiaries.

            6.       The Court finds the highest bidder of the assets identified in the Sale Motion to be

    Earnest Graham ("Graham") and Carnell Williams ("Williams") (collectively the "Purchaser"), that

    the Purchaser is a good faith purchaser for value, and that the Receiver is authorized to sell such

    assets more specifically described in the Sale Motion to Purchaser.
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           7.      The sale is free and clear of liens, claims, and cncumbranccs. Purchaser therefore

    acquires the assets free and clear of any liens, claims or encumbrances since creditors' remedy will

    be to file a claim with the Receiver.

           8.      This Court shall retain jurisdiction to enforce the terms of this Order and the Sale

    Motion.

           DONE AND ORDERED in Tampa, Florida on                    V'-Q 2`6!%¥V




                                                         Herbert J. f3aum\an_ Jr\
                                                         Circuit Co m Juéac


    Conformed copies to:
    Alberto F. Gomez, Jr., 119 S. Dakota Ave., Tampa, FL 33606,
    Stuart Jay Levine, Esq., 601 Bay shore Blvd., Ste. 720, Tampa, FQ 33606,
    Patrick M Singer, Esq., 5813 S. Mac Dill Ave., Tampa, FL 3361 1,
    Michael Silvester, 777 Harbor Isles Place, N. Palm Beach, FL 33410
    Keith D. Diamond, Esq., 2645 Executive Park Dr., Suite 107, Westin, FL 33331 and
    Larry Hyman, Receiver, for service on all parties in interest.
